CIVIL ACTION NO. 1 3 C I 0 6 14 0

GREGORY HOLEHAN as Administrator

the Estate of KELSEY HOLEHAN, Deceased,
6603 Poplar Forest Lane

Louisville, KY 4029]

vs. ~ COMPLAINT

TBD ACQUISITION, LLC

d/b/a The Brook Hospital-Dupont

367 S..Gulph Road

King of Prussia , PA 19406

SERVE: CT Corporation System

306 West Main Street
Suite 512
Frankfort, KY 40601

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Case 3:13-cv-01226-TBR-LLK Document 1-4. Filed 12/20/13 Page 1 of 4 PagelD #: 10

JEFFERSON CIRCUIT COURT
DIVISTONINO’ CIRCUTT COURT
JUDGE ___ DIVISION ELEVEN (1 9

PLAINTIFF

DEFENDANT

Come now the Plaintiff, Gregory Holehan, as Administrator of the Estate of Kelsey

Holehan, Deceased, by and through counsel, and for his causes of action against the Defendants,

TBD Acquisition, LLC d/b/a The Brook Hospital-Dupont state as follows:

I.

Kelsey Holehan, at all times relevant to this Complaint, was a resident of Kentucky.

Gregory Holehan is the Administrator of the Estate of Kelsey Holehan, Deceased. Gregory

Holehan was appointed as Administrator on August 22, 2013 and is the proper person to bring this

claim.

IL.

At all times relevant hereto, Defendant TBD Acquisition, LLC d/b/a The Brook Hospital-

Dupont was and is.a corporation organized and existing under the laws of the State of Delaware,
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Case 3:13-cv-01226-TBR-LLK Document 1-4 Filed 12/20/13 Page 2 of 4 PagelD #: 11

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but is registered and does business in Kentucky as “The Brook Hospital-Dupont” and therefore,

is subject to the jurisdiction of this Court. The agent for service of process is CT Corporation

System, 306 West Main Street, Suite 512, Frankfort, KY 40601. |
i.

The Brook Hospital-Dupont is the assumed name of TBD Acquisition, LLC. TBD
Acquisition, LLC is the legal owner, operator, and proper person to be sued for negligence by
employees, agents, and ostensible agents of The Brook Hospital-Dupont.

Iv.

Defendant TBD Acquisition, LLC d/b/a The Brook Hospital-Dupont holds itself out to the
public as a provider of medical care, psychiatric care, nursing care, physician care, and all
attendant medical care and services. |

V.

Defendant TBD Acquisition, LLC d/b/a The Brook Hospital-Dupont by and through its
agents, servants, employees and/or ostensible agents, undertook to provide medical care and
services to Kelsey Holehan.

VI.

Defendant TBD Acquisition, LLC d/b/a The Brook Hospital-Dupont by and through its
agents, servants, employees and/or ostensible agents, was negligent in its care and treatment
Kelsey Holehan by acts of omission and/or commission, and such negligence was a substantial
factor in causing the injuries and bringing about the damages sustained by Plaintiff.

VIL.

As a direct and proximate result of the negligence and carelessness of Defendant, TBD

Acquisition, LLC d/b/a The Brook Hospital-Dupont, decedent Kelsey Holehan experienced

physical and mental pain and suffering, was required to seek and obtain medical care and treatment,
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Case 3:13-cv-01226-TBR-LLK Document 1-4 Filed 12/20/13 Page 3 of 4 PagelD #: 12

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was required to expend sums of money for said medical care and treatment, suffered lost wages and
lost earnings, had her power to labor and earn money permanently destroyed, and subsequently died
as a result of Defendant’s negligence. |
Viti.
The acts and/or omissions of Defendant, TBD Acquisition, LLC d/b/a The Brook Hospital-
Dupont, which are stated in the preceding paragraphs, were grossly negligent, reckless, wanton

and/or willful, thus making the Defendants TBD Acquisition, LLC d/b/a The Brook Hospital-

_ - Dupont, liable to Plaintiff for punitive damages.

IX.
By reason of the foregoing, Plaintiff Gregory Holehan, as Administrator of the Estate of
Kelsey Holehan, Deceased, has béen damaged in an amount in excess of any minimum dollar

amount necessary to establish jurisdiction in this Court.

WHEREFORE, Plaintiff Gregory Holehan, as Administrator of the Estate of Kelsey
Holehan, Deceased, demands judgment against the Defendant, TBD Acquisition, LLC d/b/a The

Brook Hospital-Dupont as follows:

1. For compensatory damages in an amount to be proven at trial;

2. For funeral and burial expenses;

3. For punitive damages in an amount to be proven at trial;

4. Fora trial by jury;

5. For all costs incurred herein, including a reasonable attorney’s fee;

6. For all interest available under law on the above sums from the date of the Plaintiffs

individual injuries until paid; and

7. For any and all other relief to which the Plaintiffs may appear justly entitled.
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Case 3:13-cv-01226-TBR-LLK Document 1-4 Filed 12/20/13 Page 4 of 4 PagelD #: 13

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Respectfully submitted,

Unb f0 1 —

Michael R. Hance

Chandrika Srinivasan

Kelly Bowles

Hance & Srinivasan

8700 Westport Road, Suite 101
Louisville, Kentucky 40242
(502) 426-4301

(502) 562-0097 fax

mhance@hslawky.com
COUNSEL FOR PLAINTIFF

 
